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               EXHIBIT “H”
               EXHIBIT "H"
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        MARKS, O'NEILL, O'BRIEN, DOHERTY& KELLY, P.C.
        BY: Christian M. Scheuerman, Esquire ATTORNEY FOR DEFENDANT
        Cherry Tree Corporate Center         Healthcare Revenue Recovery Group,
        Suite 501                            LLC
        535 Route 38 East
        Cherry Hill, NJ 08002
        (856) 663-4300

        190-100509 (SXK/CMS)
                                                                  UNITED STATES DISTRICT COURT
        Alejandro Morales, on behalf of himself and                      OF NEW JERSEY
        those similarly situated,                                      NEWARK VICINAGE

                           vs.                                    DOCKET NO. 2:15-cv-08401-ES-JAD

        Healthcare Revenue Recovery Group, LLC                                CIVIL ACTION

                                                                    DEFENDANT'S RESPONSES TO
                                                                    PLAINTIFF'S REQUESTS FOR
                                                                          ADMISSIONS



                Defendant Healthcare Revenue Recovery Group, LLC, hereby responds to the
        Plaintiff's Request for Admissions as follows:


        1.          Request For Admission No. 1: PLAINTIFF is a natural person obligated or allegedly
                    obligated to pay a DEBT for a medical account.

                    ANSWER:       Admitted that Plaintiff is an actual person obliged to pay a debt.


        2.          Request for Admission No. 2: PLAINTIFF is a CONSUMER.

                    ANSWER:       Objection. This request seeks an improper legal conclusion.


        3.         Requesi for Admission No. 3: YOU regularly collect or attempt to collect, directly or
                   indirectly, DEBTS owed or due or asserted to be owed or due to another.

                   ANSWER:        Objection. This request seeks an improper legal conclusion.


                   Request tier Admission No. 4: YOU are a DEBT COLLECTOR.

                   ANSWER:       Objection. This request seeks an improper legal conclusion.




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        5.            Request for Admission No. 5; YOU attempted to collect a DEBT from the PLAINTIFF.

                      ANSWER:      Admitted only that the Defendant sent Plaintiff a debt collection
                                   letter which is referenced in the Complaint.


        6.            Request for Admission No. 6: The OBLIGATION is a DEBT.

                      ANSWER:      Objection. This request seeks an improper legal conclusion.


        7.            Reepiest for Admission No. 7: YOU sent or caused to be sent the COLLECTION
                      COMMUNICATION.

                  ANSWER:          Objection. This request as phrased is overbroad, vague, and
                                   incapable of a response. Without waiving same, Answering
                                   Defendant admits that a letter was sent to the Plaintiff on
                                   December 3, 2014.


        8.        Request for Admission No. S: The COLLECTION COMMUNICATION was mailed to
                  PLAINTIFF in connection with YOUR attempt to collect a DEBT.

                  ANSWER:          Objection. This request seeks an improper legal conclusion.


        9.        Request for Admission No. 9: YOUR LETTER is a COMMUNICATION.

                  ANSWER:          Objection. This request seeks an improper legal conclusion.


       10.        Es_niest for Admission No. 10: YOU benefit financially when CONSUMERS make a
                  payment in response to their receiving YOUR COMMUNICATIONS, such as the
                  COLLECTION COMMUNICATION.

                  ANSWER:         Objection. This request as phrased is overbroad, vague, and
                                  incapable of a response. This request also seeks an improper
                                  legal conclusion.


       11.       gentlest for Admission Ni I I ; YOU use a TEMPLATE to create, draft or produce your
                 written COMMUNICATION.

                 ANSWER:          Objection. This request seeks an improper legal conclusion.


       12.       Request for Admission No. 12: YOU have DOCUMENTS that memorialize YOUR
                 policies and procedures concerning the content of COMMUNICATIONS, including the
                 COLLECTION COMMUNICATION, that are sent to CONSUMERS.



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                  ANSWER:       Objection. This request as phrased is overbroad, vague, and
                                incapable of a response. Without waiving same, it is admitted
                                that Answering Defendant has policies and procedures.


        13.       Request for Admission No. 13: YOU have DOCUMENTS that memorialize policies and
                  procedures concerning your collection of DEBTS that CREDITORS hire YOU to collect
                  on their behalf.

                  ANSWER:       Admitted.


        14.       Request for Admission No. 14: YOU reviewed the form of the COLLECTION
                  COMMUNICATION attached as Exhibit A to Plaintiffs Complaint sometime prior to the
                  date they were mailed.

                  ANSWER;       Denied that Answering Defendant has the ability to review
                                anything, as it is a corporate entity.


        15.       Request for Admission No. 15: YOU or an AGENT approved the form of the
                  COLLECTION COMMUNICATION attached as Exhibit A to Plaintiffs Complaint
                  sometime prior to the date they were sent.

                  ANSWER:      Admitted that Answering Defendant approved the December
                               3,2014 letter sent to the Plaintiff.

        16.      Request fur Admissiou No. I6:          is a file number associated with the
                 OBLIGATION.

                 ANSWER:       Denied.


       17.       Reouest for Admission No. 17:          is a reference number associated with the
                 OBLIGATION.

                 ANSWER:       Denied.


       18.       Request for Admission No. 18:11.1.is an account number associated with the
                 OBLIGATION.

                 ANSWER:       Denied.


       19.       Request for Admission No. .19:         is a registration code associated with the
                 OBLIGATION.


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                     ANSWER:       Denied.


         20.         ReqtleN1 for Admission No. 20:          is a unique identification number associated
                     with the OBLIGATION.

                    ANSWER:        Objection. This request seeks an improper legal conclusion.


         2L         Request for Admission No. 21: At the time the LETTER was mailed, the barcode was
                    visible from outside the sealed envelope which contained the LETTER.

                    ANSWER:        Denied. Answering Defendant has no present knowledge of the state
                                   of the letter and envelope after it was placed in the mail. Answering
                                   Defendant has made a reasonable inquiry, but the information it
                                   knows or can readily obtain is insufficient.


        22.
                    which when read ut scanned revealed "
                    envelope which contained the LETTE .
                                                         um
                    Request for Admission No. 22: At the time the LETTER was mailed, the barcode_
                                                                   '' was visible from outside the sealed


                    ANSWER:       Denied. Answering Defendant has no present knowledge of the state
                                  of the letter and envelope after it was placed in the mail. Answering
                                  Defendant has made a reasonable inquiry, but the information it
                                  knows or can readily obtain is insufficient.


        23.         Request for Admission Nn. 23: During the TERM, YOU sent a written
                   COMMUNICATION in a windowed envelope such that a barcode was visible from
                   outside the envelope, which barcode when read or scanned revealed the file number,
                   reference number, registration code, account number or other unique identification
                   number associated with the DEBT, to at least 40 CONSUMERS who reside in the State
                   of New Jersey, in connection with YOUR attempt to collect a DEBT.

                   ANSWER:        Denied. Answering Defendant has no present knowledge of the state
                                  of the letter and envelope after it was placed in the mail. Answering
                                  Defendant has made a reasonable inquiry, but the information it
                                  knows or can readily obtain is insufficient.


        24.        Reque.t tOr Adinis.:ion No, 2.1: During the TERM, YOU sent a written
                   COMMUNICATION in a windowed envelope such that a barcode was visible from
                   outside the envelope, which barcode when read or scanned revealed the file number,
                   reference number, registration code, account number or other unique identification
                   number associated with the DEBT, to at least 100 CONSUMERS who reside in the State
                   of New Jersey, in connection with YOUR attempt to collect a DEBT.



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                   ANSWER:       Denied. Answering Defendant has no present knowledge of the state
                                 of the letter and envelope after it was placed in the mail. Answering
                                 Defendant has made a reasonable inquiry, but the information it
                                 knows or can readily obtain is insufficient.


         25.       Request for Admission No. 25: During the TERM, YOU sent a written
                   COMMUNICATION in a windowed envelope such that a barcode was visible from
                   outside the envelope, which barcode when read or scanned revealed the file number,
                   reference number, registration code, account number or other unique identification
                   number associated with the DEBT, to at least 500 CONSUMERS who reside in the State
                   of New Jersey, in connection with YOUR attempt to collect a DEBT,

                   ANSWER:      Denied. Answering Defendant has no present knowledge of the state
                                of the letter and envelope after it was placed in the mail. Answering
                                Defendant has made a reasonable inquiry, but the information it
                                knows or can readily obtain is insufficient.


        26.       Request for Admission No. 26: During the TERM, YOU sent a written
                  COMMUNICATION in a windowed envelope such that a barcode was visible
                  from outside the envelope, which barcode when read or scanned revealed the file
                  number, reference number, registration code, account number or other unique
                  identification number associated with the DEBT, to at least 1,000 CONSUMERS
                  who reside in the State of New Jersey, in connection with YOUR attempt to
                  collect a DEBT.


                  ANSWER:       Denied. Answering Defendant has no present knowledge of the state
                                of the letter and envelope after it was placed in the mail. Answering
                                Defendant has made a reasonable inquiry, but the information it
                                knows or can readily obtain is insufficient.


        27.       Request for Adinksion No 27: During the TERM, YOU sent a written
                  CCJM1v1UN1CATION in a windowed envelope such that a barcode was visible
                  from outside the envelope, which barcode when read or scanned revealed the file
                  number, reference number, registration code, account number or other unique
                  identification number associated with the DEBT, to at least 5,000 CONSUMERS
                  who reside in the State of New Jersey, in connection with YOUR attempt to
                  collect a DEBT,

                  ANSWER:       Denied. Answering Defendant has no present knowledge of the state
                                of the letter and envelope after it was placed in the mail. Answering
                                Defendant has made a reasonable inquiry, but the information it
                                knows or can readily obtain is insufficient.




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         28.       Request an Admission No. 28: During the TERM., YOU sent a written
                   COMMUNICATION in a windowed envelope such that a barcode was visible
                   from outside the envelope, which barcode when read or scanned revealed the file
                   number, reference number, registration code, account number or other unique
                   identification number associated with the DEBT, to at least 10,000 CONSUMERS
                   who reside in the State of New Jersey, in connection with YOUR attempt to
                   collect a DEBT.


                   ANSWER:         Denied. Answering Defendant has no present knowledge of the state
                                   of the letter and envelope after it was placed in the mail. Answering
                                   Defendant has made a reasonable inquiry, hut the information it
                                   knows or can readily obtain is insufficient.


        29.        Request for Admission No. 29: Members of the CLASS can be IDENTIFIED using
                   YOUR business records.

                   ANSWER:        Denied. Answering Defendant has no present knowledge of the state
                                  of the letter and envelope after it was placed in the mail. Answering
                                  Defendant has made a reasonable inquiry, but the information it
                                  knows or can readily obtain is insufficient.


        30.        Request   For Admission No. 30: YOUR net worth is in excess of $ 1,000,000.00.
                  ANSWER:         Objection. This request as phrased is overbroad, vague, and
                                  incapable of a response. Among other things, the class has not yet
                                  been certified so such discovery at this point is premature.


        31.        Request for Admission No. 31: YOUR net worth is in excess of $5,000,000.00.

                  ANSWER:         Objection. This request as phrased is overbroad, vague, and
                                  incapable of a response. Among other things, the class has not yet
                                  been certified so such discovery at this point is premature.


        32.       Requesi f'or Admission No. 32: YOUR net worth is in excess of $10,000,000.00.

                  ANSWER:         Objection. This request as phrased is overbroad, vague, and
                                  incapable of a response. Among other things, the class has not yet
                                  been certified so such discovery at this point is premature.


       33.        Request for Admission No. 33: YOUR net worth is in excess of $25,000,000.00




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                 ANSWER:        Objection. This request as phrased is overbroad, vague, and
                                capable of a response. Among other things, the class has not yet been
                                certified so such discovery at thispoint is premature.


        34.       Request for Admission No. 34: YOUR net worth is in excess of $50,000,000.00.

                 ANSWER:       Objection. This request as phrased is overbroad, vague, and
                               incapable of a response. Among other things, the class has not yet
                               been certified so such discovery at this point is premature.




                                                     MARKS, O'NEILL, O'BRIEN,
                                                     DOHERTY & KELLY, P.C.

                                                    Al Christian hf. Scheuernau►t. Esquire
                                                    Christian M. Scheuerman, Esquire




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